Case 1:23-cv-00528-TMH       Document 126   Filed 01/13/25   Page 1 of 4 PageID #: 2549




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

 WOLFRAM ARNOLD, et al.,

                         Plaintiffs,
                                            C.A. No. 1:23-cv-528-JLH-CJB
                v.

 X CORP. f/k/a TWITTER, INC., et al.

                            Defendant.


           PLAINTIFFS’ MOTION TO PROVISIONALLY SEAL
              REPLY IN SUPPORT OF THEIR REQUEST TO
        FILE AMICUS BRIEF AND REQUEST FOR LEAVE TO FILE
              ADDITIONAL SUPPLEMENTAL AUTHORITY


 Shannon Liss-Riordan (pro hac vice)                 Kate Butler, Bar I.D. No. 6017
 Bradley Manewith (pro hac vice)                     Kate Butler Law LLC
 Thomas Fowler (pro hac vice)                        1509 Gilpin Ave, Suite No. 3
 LICHTEN & LISS-RIORDAN, P.C.                        Wilmington, DE 19806
 729 Boylston Street, Suite 2000                     Phone: (302) 966-9994
 Boston, MA 02116                                    email: kate@katebutlerlaw.com
 (617) 994-5800
 Email: sliss@llraw.com
 bmanewith@llrlaw.com
 tfowler@llrlaw.com

 Attorneys for Plaintiffs
Case 1:23-cv-00528-TMH     Document 126        Filed 01/13/25   Page 2 of 4 PageID #: 2550




       Pursuant to this Court’s Manuals on filing, including Electronic Filing Tips

 for Attorneys and Electronic Filing of Sealed Civil Documents, Emmanuel Cornet,

 Justine De Caires, Lenn Kindel (f/k/a Grae Kindel), Alexis Camacho, Jessica Pan,

 Emily Kim, Miguel Andres Barreto, and Brett Menzies Folkins, on behalf of

 themselves and all other similarly situated (collectively “Cornet Plaintiffs”) hereby

 move to provisionally seal their Reply in Support of their Request to File Amicus

 Brief and Request for Leave to File Additional Supplemental Authority (“Reply

 and Request for Leave”) and accompanying exhibits.

       The Reply and Request for Leave (Exhibit A) responds to Twitter’s

 opposition to Cornet Plaintiffs’ Motion for Leave to File Amicus Brief (Dkt. 115-1)

 and informs the Court of four more arbitration awards (Exhibits 1-3 to the Reply

 and Request for Leave, attached hereto as Exhibits B-D). Exhibit 4 to the Reply

 and Request for Leave (attached hereto as Exhibit E) is a discovery letter submitted

 by Twitter in an arbitration. Exhibit 5 to the Notice and Reply (attached hereto as

 Exhibit F) is a copy of Twitter’s Notice of Supplemental Authority that it filed in

 multiple proceedings with respect to one of the arbitration awards.

       Because Twitter takes the position that arbitration awards and filings are

 confidential, Cornet Plaintiffs have filed the documents under seal.

       Plaintiffs therefore request leave to provisionally file Exhibits A-F under

 seal. Because the arbitral awards contain some personally identifying information,



                                           1
Case 1:23-cv-00528-TMH     Document 126        Filed 01/13/25   Page 3 of 4 PageID #: 2551




 if the Court is disinclined to permit the entirety of the documents to be filed under

 seal, Cornet Plaintiffs respectfully request the opportunity to submit redacted

 versions removing identifying information for the claimants in those arbitrations.




 Dated: January 13, 2025                 Respectfully submitted,

                                         EMMANUEL CORNET, JUSTINE DE
                                         CAIRES, GRAE KINDEL, ALEXIS
                                         CAMACHO, JESSICA PAN, EMILY KIM,
                                         MIGUEL BARRETO, and BRETT
                                         MENZIES FOLKINS, on behalf of
                                         themselves and all others similarly situated,

                                         By their attorneys,

                                          /s/ Kate Butler
                                         Kate Butler, Bar I.D. No. 6017
                                         Kate Butler Law LLC
                                         1509 Gilpin Ave, Suite No. 3
                                         Wilmington, DE 19806
                                         Phone: (302) 966-9994
                                         Email: kate@katebutlerlaw.com

                                         Shannon Liss-Riordan (pro hac vice)
                                         Bradley Manewith (pro hac vice)
                                         Thomas Fowler (pro hac vice)
                                         LICHTEN & LISS-RIORDAN, P.C.
                                         729 Boylston Street, Suite 2000
                                         Boston, MA 02116
                                         (617) 994-5800
                                         Email: sliss@llrlaw.com
                                         bmanewith@llrlaw.com
                                         tfowler@llrlaw.com



                                           2
Case 1:23-cv-00528-TMH      Document 126        Filed 01/13/25   Page 4 of 4 PageID #: 2552




                            CERTIFICATE OF SERVICE

         I, Kate Butler, hereby certify that a true and accurate copy of the redacted

 version of this document was served on all counsel of record in this matter via

 filing on the Court’s CM/ECF system and that Cornet Plaintiffs have served the

 sealed version of this document on Defendant’s counsel via email on January 13,

 2025.


                                          /s/ Kate Butler
                                          Kate Butler




                                            3
